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FLNB Local Form 5

Exhibit Tae/ Cover Sheet

Party submitting: _ Plaintiff Ex. #_ 66
Admitted: Yes or No (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Adv. No.:

Nature of Hearing/

Docket No:

Dated 07/22 , 2021.

 

By: » Deputy Clerk
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Page 2 — Julian Rooks
18-00030-PA

March 2, 2018

Julian Rooks
3548 Dartford Lane
TaHahassee, FL 32311

RE: FOTIA Request No. (18-00030-PA)}
Dear Julian Rooks:

This is the final response to your request dated November 5, 2017, requesting information pursuant to
the Freedom of Information Act (FOIA), 5 U.S.C. § 552. Your request was received in the FOIA
Service Center (FSC) on January 31, 2018, and was forwarded to the appropriate office within the
Department of Education (the Department) for any responsive documents they may have.

You requested the following:

(1) all records, specifically those containing the earliest date, regarding lost, missing, switched or
otherwise incorrect student transcripts involving St. Matthews University School of Medicine
and/or St. Joseph's College of Maine.

(2) ail records, specifically those containing the earliest date, regarding the misrepresentation of federal
student loans involving St. Matthews University School of Medicine and/or St. Joseph's College of
Maine.

(3) all records regarding why this DOE email and these documents (ex. 1-If} were redacted.

(4) all records pertaining to me.

The Department recognizes this request to be a Privacy Act request pursuant to the Privacy Act of
1974, 5 U.S.C. § 552a as amended, and the Department’s regulation implementing the Privacy Act (34
CFR Part 5b). The request was forwarded to Federal Student Aid’s (FSA’s) Business Operations for
research and response. Business Operations provided copies of your student loan documents to
include: application and promissory note, St. Joseph’s College Notice of Loan Guarantee and
Disclosure Statement, Finance Authority of Maine (FAME) Indemnification Agreements, Statement of
Purchased Account and correspondence documents. No redactions were made to the documents as this
request was fulfilled under the Privacy Act. A copy of your loan details as derived from the National
Student Loan Database System (NSLDS) is also being provided.

NSLDS is the Department’s central database for student aid. NSLDS receives data from schools,
guaranty agencies, the Direct Loan program, and other Department. NSLDS Student Access provides a
centralized, integrated view of Title IV loans and grants so that recipients of Title IV Aid can access
and inquire about their Title [V loans and/or grant data. The borrower can access these records by

visiting https://www.nslds.ed.gov/ and setting up an FSA ID, which will grant them system access to
see their loan details.

400 MARYLAND AVE., §.W_, WASHINGTON, DC 20202-4500
www .ed, gov

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Page 2 — Julian Rooks
18-00030-PA

For item 1, you will need to contact the schools directly for a copy of your transcripts as the
Department does not maintain them.

For item 3, you would need to refer to your final letter on your appeal rights if you believe information
should not be redacted. I could not find a request under your name so I cannot provide additional
information.

Enclosed with this letter are 69 pages that are responsive to your request. If you have questions
concerning the information provided above please contact the office below:

Borrower Services, Customer Care Group
500 W. Madison 8t., Suite 1520
Chicago, IL 60661-4544
1-800-621-3115
www.FederalStudentAid.ed.gov
1-800-4-FED-AID

 

If you have any questions, please contact the FSC at (202) 401-8365 or EDFOIAMANAGER@ed. gov.

Sincerely,

Arthur Caliguinan
Arthur Caliguiran

FOIA Public Liaison
FOIA Service Center

 

Enclosure

400 MARYLAND AVE., 5.W., WASHINGTON, DC 20202-4500
www.cd gov

Our mission is to ensure equal access to education and to promote educational excellence throughout the Nation.
